Case: 1:19-cv-02862-PAG Doc #: 27 Filed: 10/29/20 1 of 1. PageID #: 458




                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



Roberta Lidenbaum,                         )       CASE NO. 1:19 CV 2862
on behalf of herself and others            )
similarly situated,                        )
                                           )
                      Plaintiff,           )       JUDGE PATRICIA A. GAUGHAN
                                           )
              Vs.                          )
                                           )
Realgy, LLC et al.,                        )       Order of Dismissal
                                           )
                      Defendants.          )


       This Court, having GRANTED Realgy, LLC’s Motion to Dismiss Amended Complaint

(Doc. 20), hereby DISMISSES this action.

        IT IS SO ORDERED.




                                    /s/ Patricia A. Gaughan
                                    PATRICIA A. GAUGHAN
                                    United States District Judge
 Dated: 10/29/20                    Chief Judge




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